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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,                    §
                                                       §
                     Plaintiffs                        §
                                                       §
        v.                                             §        Consolidated Case
                                                       §        No. 5:21-cv-00844-XR
THE STATE OF TEXAS, et al.,                            §
                                                       §
                     Defendants.
                                                       §
                                                       §



                  JOINT STIPULATION REGARDING THE DEPOSITION
                OF THE EL PASO COUNTY ELECTIONS ADMINISTRATOR

        Pursuant to this Court’s standing instruction, see Fact Sheet for Judge Xavier Rodriguez

¶ 34, Plaintiffs La Unión del Pueblo Entero, et. al.1 (“Private Plaintiffs”), Plaintiff the United States

of America (“United States”), Intervenor-Defendants the Harris County Republican Party, Dallas

County Republican Party, Republican National Committee, National Republican Senatorial

Committee, and National Republican Congressional Committee (collectively, “Intervenor-

Defendants”), State Defendants Gregory W. Abbott, W. Kenneth Paxton, and Jane Nelson

(collectively, “State Defendants”), and Defendant El Paso County Elections Administrator Lisa

Wise hereby stipulate that:




1
  Plaintiffs, with the exception of the United States, are as follows: La Unión del Pueblo Entero, Friendship-West
Baptist Church, the Anti-Defamation League Austin, Southwest, and Texoma Regions, Southwest Voter Registration
Education Project, Texas Impact, Mexican American Bar Association of Texas, Texas Hispanics Organized for
Political Education, Jolt Action, William C. Velasquez Institute, FIEL Houston Inc., and James Lewin, Houston
Justice, Houston Area Urban League, Delta Sigma Theta Sorority, Inc., The Arc of Texas, and Jeffrey Lamar
Clemmons, LULAC Texas, Voto Latino, Texas Alliance for Retired Americans, Texas AFT, Mi Familia Vota, Marla
Lopez, Marlon Lopez, Paul Rutledge, OCA-Greater Houston, League of Women Voters of Texas, REVUP-Texas,
and Workers Defense Action Fund.
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       1.       All undersigned parties agree that a deposition of the Office of the El Paso County

Elections Administrator pursuant to Fed. R. Civ. P. 30(b)(6) (the “30(b)(6) Deposition”) will be

held on April 18, 2023, starting at 10:00 a.m. CDT.

       2.       State Defendants have served the Office of the El Paso County Elections

Administrator with notice as required under Fed. R. Civ. P. 30(b)(6).

       3.       The Office of the El Paso County Elections Administrator has designated El Paso

County Elections Administrator Lisa Wise to testify at the 30(b)(6) Deposition.

       4.       State Defendants, Private Plaintiffs, the United States, and Intervenor-Defendants

may ask questions of Ms. Wise at the 30(b)(6) Deposition. No other parties are noticing a

deposition or will be permitted to ask questions of Ms. Wise at the 30(b)(6) Deposition.

       5.       State Defendants, Private Plaintiffs, the United States, and Intervenor-Defendants

agree that any questions asked of Ms. Wise at the 30(b)(6) Deposition will fall solely within the

scope of Exhibit A to that notice, subject to the limitation set forth in Paragraph 6 below. The

Office of the El Paso County Elections Administrator further reserves the right to serve responses

and objections to the topics set out in Exhibit A, and to meet and confer with counsel for State

Defendants, Private Plaintiffs, the United States, and Intervenor-Defendants regarding the scope

of questioning at the 30(b)(6) Deposition.

       6.       The undersigned parties agree that the 30(b)(6) Deposition of Ms. Wise will be

exclusively dedicated to the November 2022 General Election.

       7.       All undersigned parties agree that they will not serve a deposition notice pursuant

to Fed. R. Civ. P. 30(b)(1) on Ms. Wise.




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       8.       All undersigned parties agree that the 30(b)(6) deposition will not extend beyond

one day (i.e., seven hours), to be split evenly among the State Defendants and the Intervenor-

Defendants, on the one hand, and the Private Plaintiffs and the United States on the other.

       9.       By entering into this stipulation, the undersigned parties do not waive any rights to

re-open the 30(b)(6) Deposition or to pursue a further deposition based on new or previously

undisclosed information.



 Dated: March 15, 2023                        Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

            I certify that on March 15, 2023, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will send notification of this filing to counsel of record.

                                                   /s/ Orion Armon
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